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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

Bureau of Consumer Financial
Protection,
                                              Case No.
                    Petitioner,

                    v.                        PETITION TO ENFORCE
                                              CIVIL INVESTIGATIVE
Nu Republic, LLC,                             DEMANDS AND
Refund Republic, LLC, and                     SUPPORTING
Khadija Williams,                             MEMORANDUM

                    Respondents.



        Petitioner, the Bureau of Consumer Financial Protection (Bureau),

seeks an order from this Court directing Respondents—Nu Republic, LLC;

Refund Republic, LLC; and Khadija Williams—to show cause why they need

not comply with the Bureau’s Civil Investigative Demands (CIDs). The

Bureau has served a CID on each of these Respondents, but none of them has

responded.

        The Bureau is an independent federal agency charged with regulating

the offering and provision of consumer-financial products and services. 1 To



1   12 U.S.C. § 5491(a).
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fulfill this purpose, the Bureau is authorized to issue a CID to any entity or

individual it has reason to believe may have information relevant to a

violation of federal consumer-financial law. 2 A CID issued by the Bureau

may, among other things, require the recipient to produce documents, answer

interrogatories, provide written reports, and designate a witness to testify. 3

        Exercising this statutory authority, on September 5, 2019, the Bureau

issued CIDs to Nu Republic, LLC, Refund Republic, LLC, and Khadija

Williams (collectively referred to as “the Franchisors”). 4 The Bureau is

investigating whether the Franchisors violated federal consumer-financial

laws while engaging in activities related to (a) offering, brokering, providing,

or acting as program managers for refund-anticipation loans or the financing

of tax-preparation fees; (b) deposit-taking activities, transmitting or

exchanging funds or otherwise acting as a custodian of funds or any financial

instrument for use or on behalf of a consumer; (c) providing financial-

advisory services; or (d) providing payments or other financial data-

processing products or services to a consumer by any technological means.




2   12 U.S.C. § 5562(c)(1).
3   Id.
4   Decl. of David Dudley (Dudley Decl.) at ¶ 4 and Exs. 1-3.
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          The CIDs seek documents, interrogatory responses, and data about the

Franchisors’ offering and providing of tax-refund transfer products and

credit-counseling services through local, storefront tax-preparation

franchisees. 5 The CIDs were each served upon the Franchisors in accordance

with 12 U.S.C. § 5562(c)(8). 6 Although Refund Republic’s registered agent

refused service of the CID via registered mail, the relevant statute provides

that service is made by “depositing a duly executed copy in the United States

mails, by registered or certified mail, return receipt requested, duly

addressed to such person at the principal office or place of business of such

person.” 7 The Franchisors have failed to provide any response to or otherwise

comply with the Bureau’s CIDs.

     I.      Jurisdiction and Venue

          The Bureau has authority under the Consumer Financial Protection

Act of 2010 (CFPA) to issue CIDs and enforce them in district court. 8 When

an entity refuses to comply with a CID, the CFPA authorizes the Bureau to

petition the district court for an order to enforce the CID in “any judicial




5   Id. at ¶ 4 and Exs. 1-3.
6   Id. at ¶¶ 5-12.
7   12 U.S.C. § 5562(c)(8)(C).
8   12 U.S.C. § 5562(c)(1), (e)(1).
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district in which such person resides, is found, or transacts business.” 9 Nu

Republic, LLC and Refund Republic, LLC are located in and transact

business in the Northern District of Georgia. Kadijah Williams resides in the

Northern District of Georgia. Venue is proper in this district.

     II.     Factual Background

           On September 5, 2019, the Bureau issued CIDs seeking documents,

interrogatory responses, and data from Nu Republic and Refund Republic

related to their offering or providing of tax-refund transfer products and

credit-counseling services. 10 Also on September 5, 2019, the Bureau issued a

CID to Khadija Williams, 11 who is a part-owner and manager for Nu Republic

and Refund Republic. Each of these CIDs set a compliance deadline of

October 7, 2019. The CIDs were each served on the Franchisors, and none of

the Franchisors has provided any response to or otherwise complied with the

Bureau’s CIDs. 12

     III.    Legal Argument

           Administrative agencies like the Bureau have “broad investigatory




9 12 U.S.C. § 5562(e)(1).
10 Dudley Decl. at ¶ 4 and Exs. 1-2.
11 Id. at ¶ 4 and Ex. 3.
12 Id. at ¶¶ 9-11.

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power.” 13 And a district court’s role in evaluating an enforcement request

such as this one is “sharply limited.” 14

      To establish that the Court should enforce the CIDs, the Bureau must

show that: (1) the investigation is within the Bureau’s authority; (2) the

Bureau’s demand is not too indefinite or overly burdensome; and (3) the

information sought is reasonably relevant to the investigation. 15

      The CIDs at issue here are within the Bureau’s authority. The Bureau

may act to prevent any “covered person” or “service provider” from “offer[ing]

or provid[ing] to a consumer any financial product or service not in

conformity with Federal consumer financial law, or otherwise commit[ting]

any act or omission in violation of a Federal consumer financial law.” 16 These

laws include the prohibition on covered persons or service providers

employing unfair, deceptive, or abusive acts or practices. 17 Another is the




13 United States v. Fla. Azalea Specialists, 19 F.3d 620, 622-23 (11th Cir.
1994).
14 EEOC v. Kloster Cruise, Ltd., 939 F.2d 920, 922 (11th Cir. 1991); accord

FTC v. Texaco, Inc., 555 F.2d 862, 871-72 (D.C. Cir. 1977) (en banc).
15 EEOC v. Tire Kingdom, 80 F.3d 449, 450 (11th Cir. 1996); see also United

States v. Morton Salt Co., 338 U.S. 632, 652 (1950).
16 12 U.S.C. § 5536(a)(1)(A).
17 12 U.S.C. § 5481(14) (defining Federal consumer financial law as including

“the provisions of this title”); id. §§ 5531, 5536 (prohibiting unfair, deceptive,
or abusive acts or practices related to consumer financial products).
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Truth in Lending Act. 18 The Franchisors issued thousands of tax-refund

products and offered credit-counseling services in multiple states. The tax-

refund products may be an extension of credit because they function as short-

term loans to taxpayers secured by their anticipated federal tax refunds.

These are consumer-financial products or services subject to the Bureau’s

authority. 19

      The information sought by the CIDs is relevant to the agency’s

investigation. 20 Relevance is broadly interpreted in the context of enforcing

administrative subpoenas. 21 The Supreme Court explained that “the

established rule” is that “the term ‘relevant’ be understood ‘generously’ to




18 12 U.S.C. § 5481(14) (defining Federal consumer financial law as including
“enumerated consumer laws”); id. § 5481(12)(O) (including the Truth in
Lending Act as one of the enumerated consumer laws).
19 12 U.S.C. § 5481(15)(A)(i) (“extending” or “brokering” credit), (iv) (“deposit

taking activities, transmitting or exchanging funds or otherwise acting as a
custodian of funds or any financial instrument for use by or on behalf of a
consumer”), (vii) (“providing payments or other financial data processing
products or services to a consumer”), (viii) (“providing financial advisory
services . . . including (I) providing credit counseling to any consumer and (II)
providing services to assist a consumer with debt management or debt
settlement”).
20 McLane Co. v. EEOC, 137 S.Ct. 1159, 1165 (2017).
21 Texaco, 555 F.2d at 872; see also Fla. Azalea Specialists, 19 F.3d at 622-23

(noting an agency “can investigate merely on suspicion that that law is being
violated, or even just because it wants assurance that it is not”) (quoting
Morton Salt Co., 338 U.S. at 622-23).
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permit [federal agencies] ‘access to virtually any material that might cast

light on the allegations.’” 22

      Here, the Bureau’s CIDs seek documents, interrogatory responses, and

data related to the Franchisors’ refund-anticipation checks, refund transfers,

and credit-counseling services. And the Bureau’s CIDs explain, in a

notification of purpose included on the CID’s cover page, that the Bureau is

investigating whether the Franchisors misled consumers about the true cost

of their loans or whether they enrolled them in credit-counseling services

without their knowledge or consent. 23 Either of these practices could

constitute unfair, deceptive, or abusive acts or practices prohibited by the

CFPA. The CIDs thus seek relevant information.

      Finally, the Bureau’s CIDs are narrowly tailored to seek information

related to the business practices described above. The Franchisors did not

participate in the Bureau’s meet-and-confer process or otherwise

communicate with the Bureau regarding the CIDs, so the Bureau is unaware

of any claims that the CIDs are too indefinite or overly burdensome. 24



22 McLane, 137 S.Ct. at 1169 (quoting EEOC v. Shell Oil Co., 466 U.S. 54, 68-
69 (1984)).
23 Dudley Decl. at ¶¶ 4-5 and Exs. 1-3.
24 Id. at ¶ 10; see 12 C.F.R. § 1080.6(c) (Jan. 1, 2012) (providing for meet-and-

confer process).
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                            Demand for Relief

     The Bureau respectfully asks that this Court:

1.   order Nu Republic, LLC, Refund Republic, LLC, and Khadija Williams

     to show cause why they should not be required to comply with the

     Bureau’s CIDs;

2.   enter an order directing Nu Republic, LLC, Refund Republic, LLC, and

     Khadija Williams to fully comply with the CIDs by producing the

     requested interrogatory responses, documents, and written reports no

     more than 30 days after entry of the order;

3.   award the Bureau the costs it incurred in maintaining this action; and

4.   grant such other relief as this Court deems just and proper.



Dated: January 24, 2020




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Respectfully submitted,



    LOCAL COUNSEL                       FOR PETITIONER:

    BYUNG J. PAK                        BUREAU OF CONSUMER
    United States Attorney              FINANCIAL PROTECTION

    /s/ Akash Desai                     CARA PETERSEN
    AKASH DESAI                         Acting Enforcement Director
    Assistant U.S. Attorney
    Georgia Bar No. 338124              DEBORAH MORRIS
                                        Deputy Enforcement Director
    600 U.S. Courthouse
    75 Ted Turner Drive SW              /s/ David Dudley
    Atlanta, Georgia 30303              DAVID DUDLEY
    Telephone: (404) 581-6364           Enforcement Attorney
    Facsimile: (404) 581-6181           D.C. Bar No. 474120
                                        Telephone: (202) 435-9284
                                        Email: david.dudley@cfpb.gov

                                        JOANNA SHALLECK-KLEIN
                                        Enforcement Attorney
                                        California Bar No. 275686
                                        Telephone: (202) 435-9095
                                        Email: joanna.shalleck-klein@cfpb.gov

                                        Bureau of Consumer Financial
                                        Protection
                                        1700 G Street, NW
                                        Washington, D.C. 20552
                                        Facsimile: (202) 435-5477




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